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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re: Equifax, Inc. Customer            MDL Docket No. 2800
Data Security Breach Litigation          No. 1:17-md-2800-TWT

                                         This document relates to:

                                         SMALL BUSINESS CASES


                  MOTION TO DISMISS
  CONSOLIDATED SMALL BUSINESS CLASS ACTION COMPLAINT

      Under Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

Equifax moves to dismiss Plaintiffs’ Consolidated Small Business Class Action

Complaint (Dkt. No. 375) for the reasons set out in the accompanying

memorandum of law.

DATED: July 30, 2018                    Respectfully Submitted,
                                        /s/ David L. Balser
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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 30, 2018, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send

notice of electronic filing to all counsel of record.

                                                /s/ David L. Balser
                                                David L. Balser
